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                       UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF OKLAHOMA

JODY JORGENSEN,                             )
                                            )
      Plaintiff,                            )
                                            )
v.                                          )
                                            )
CONSECO LIFE INSURANCE                      )            No. 5-14-cv-01109-C
COMPANY; and LONNY DORMAN,                  )
d/b/a NATIONAL HEALTH                       )
INSURANCE AGENCY,                           )
                                            )
      Defendants.                           )



                        JOINT STIPULATION OF DISMISSAL




       Pursuant to Fed. R. Civ. P. 41, it is hereby stipulated, by and between Plaintiff

Jody Jorgensen and Defendant, Conseco Life Insurance Company, by and through their

respective counsel of record, that the Court may make and enter its Order dismissing all

claims against all parties in the above action with prejudice, each party to bear its own

costs and fees.

                                          s/Kent R. McGuire
                                          (signed by Jason A. Walters with permission
                                          of Kent R. McGuire)
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